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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                       10/28/22
ALYSSA SUKANA, et al.,
             Plaintiffs,                                 21-CV-10899 (LJL) (BCM)
       -against-
                                                         ORDER SCHEDULING SETTLEMENT
CITY OF NEW YORK, et al.,                                CONFERENCE
             Defendants.

BARBARA MOSES, United States Magistrate Judge.

       A settlement conference is scheduled before Magistrate Judge Barbara Moses on

November 21, 2022, at 2:15 p.m., in Courtroom 20A, 500 Pearl Street, New York, NY 10007.

This is an in-person proceeding. Counsel and parties are advised to consult the Chief Judge's

current entry protocols, available at https://nysd.uscourts.gov/covid-19-coronavirus, in advance

of the conference.

                   THE PARTIES ARE DIRECTED TO READ THIS
                   ENTIRE ORDER CAREFULLY. FAILURE TO COMPLY
                   WITH PRE-CONFERENCE RESPONSIBILITIES MAY
                   RESULT IN SANCTIONS.

       1.      Attendance of Parties, Trial Counsel, and Carriers Required. Each party must

attend the settlement conference in person, accompanied by that party's lead trial attorney.

Counsel must be fully knowledgeable concerning the facts of the case, relevant law, and the

progress of the case to date, including settlement discussions.

               a.          If a party is a corporation, union, or other non-natural person, it must send

       a decision-maker with knowledge of the case and responsibility for determining the

       amount of any ultimate settlement; that is, a person who decides what settlement

       authority to give to counsel, not a person who has received, or must seek, authority from

       someone else within the organization.
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               b.     If a party or party representative does not speak English, counsel must

       arrange for an interpreter to attend the conference and provide simultaneous translation.

               c.     If liability insurance is involved, each relevant carrier must send a

       decision-maker with knowledge of the case and responsibility for determining the amount

       of the ultimate settlement (or the carrier's portion thereof).

               d.     If a party fails to attend the settlement conference with all of the required

       persons, that party may be required to reimburse the other parties for their time and travel

       expenses or face other sanctions.

       2.      Pre-Conference Settlement Discussion Required. The purpose of a Court-

facilitated settlement conference is to settle the case – not simply to begin a settlement dialog.

The Court normally holds only one settlement conference per case. The Court therefore

requires that, promptly after receipt of this Order, the parties conduct at least one good-

faith settlement discussion, in person or by telephone, and that each party convey to each

opposing party at least one good-faith settlement demand or offer, in advance of the

deadline, set forth below, for submitting confidential settlement letters. Past settlement

negotiations may not be relied upon to satisfy this requirement. Counsel should continue

such discussions among themselves prior to the conference so as to clarify issues, narrow

disputes, and otherwise make the conference as efficient and meaningful as possible.

       3.      Confidential Settlement Letter. No later than one week (seven calendar days)

before the conference, each party shall submit a confidential settlement letter to chambers by

email, addressed to Moses_NYSDChambers@nysd.uscourts.gov, marked "Confidential Material

for Use Only at Settlement Conference." Do not file the confidential settlement letter on ECF.

Do not send copies to adverse parties unless all parties have agreed to exchange their

letters. Settlement letters are limited to six pages, not including any exhibits, which are



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permitted but should be kept to a minimum. Each letter should contain:

               a.      A summary of the relevant facts and law, focusing on the issues most

       pertinent to settlement. For example, if liability depends on an uncertain legal issue, the

       parties' letters should identify that issue and any key case law or statutes. Conversely, if

       liability is not seriously contested, the letters should focus on damages or other remedies.

               b.      A candid assessment of the strengths and weaknesses of the case,

       including affirmative defenses, together with counsel's realistic assessment of its

       settlement value or range. If there are any extra-legal impediments to settlement, note

       them here.

               c.      A brief description of settlement negotiations to date, including the date

       and time of the parties' last good-faith settlement discussion and the terms of each party's

       most recent demand or offer.

               d.      Any other information likely to be helpful to the settlement process.

       4.      Acknowledgment Form. On the same date that the confidential settlement letters

are due, each party shall submit the attached Acknowledgment Form to chambers by email, and

serve it on all other parties, identifying the individuals who will attend the settlement

conference. Do not file the Acknowledgment Form on ECF.

       5.      Conduct of the Conference. All proceedings at the settlement conference will be

confidential. Discussions are "off the record," and may not be used in discovery or at trial. The

Court will function as a mediator. Efficient use of this process requires that parties and counsel

be prepared for the conference and candid with the Court. At the outset of the conference each

party may make a brief presentation in the presence of all parties and counsel. Since the purpose

of the conference is to facilitate settlement – not to try the case – presenters are requested to




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address their remarks directly to the opposing party and to focus on the issues most relevant to

settlement. Following the initial joint session, the Court will work separately with each side in

private. During these sessions the Court may address questions directly to the parties (in the

presence of their counsel) and will expect candid responses. In addition, all parties should be

prepared to disclose their legal fees and costs to date and their estimates of fees and costs

through judgment. Additional joint sessions may be convened if likely to advance the goal of

settlement.

       6.      Requests to Reschedule the Conference or Modify these Procedures. Requests to

reschedule the settlement conference, or to modify the page limits, attendance requirements, or

other provisions of this Order, must be made by letter-motion, filed via ECF in accordance with

the Individual Practices of Judge Moses, as soon as the need for the adjournment or modification

arises and in any event at least one week (seven calendar days) before the scheduled conference.

Requests for adjournment must include two proposed dates, acceptable to all parties and counsel,

for the rescheduled conference. Before proposing dates, counsel are advised to call chambers to

determine the Court's availability. Requests to modify the attendance requirements will be

granted only on a showing of significant hardship. If the parties settle the case prior to the

scheduled conference, they must promptly so inform the Court by letter, filed via ECF, stating

whether the settlement requires Court approval and, if not, how much time the parties require to

submit a stipulation of dismissal to the district judge.

       7.      No Effect on Other Deadlines. Neither the scheduling of a settlement conference

nor any adjournment affects the parties' other litigation deadlines or obligations.

Dated: New York, New York                      SO ORDERED.
       October 28, 2022

                                               ________________________________
                                               BARBARA MOSES
                                               United States Magistrate Judge
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                  ACKNOWLEDGMENT FORM-SETTLEMENT CONFERENCE

Counsel of record for each party must complete and sign this form and email it to the Court at
Moses_NYSDChambers@nysd.uscourts.gov, with copies sent simultaneously to all other parties, no later
than one week (seven calendar days) before the parties' scheduled settlement conference.

Name of Case: _______________________________________________________________________

Docket No.: _________________________ Date of Sett. Conference: __________________________

Name of Party Submitting this Form: _______________________________________ ☐ Pltf. ☐ Def.

1. Acknowledgment by Counsel. I am lead trial counsel for the party listed above. I acknowledge my
obligation to attend the settlement conference in this action in person, accompanied by my client (if the
client is a natural person), or by a client representative (if the client is a non-natural person) who is a
decision-maker with knowledge of the case and responsibility for determining the amount of any ultimate
settlement. I further acknowledge that if insurance carrier approval, consent, or funding is required for my
client to settle this action, a representative of each relevant carrier, who is a decision-maker with
knowledge of the case and responsibility for determining the amount of any ultimate settlement (or the
carrier's portion thereof) must attend the conference.

2. Client Attendance. * Check one box:
☐ My client is a natural person. My client will attend the settlement conference in person.
☐ My client is a corporation, union, agency or other non-natural person. The following individual will
attend the settlement conference in person as a representative of my client:

Name: ______________________________________________________________________________

Title: ________________________________________________________________________________

3. Carrier Attendance.* Check one box:
☐ No insurance carrier approval is required for my client to settle this case.
☐ The following individual will attend the settlement conference in person as a representative of the
following insurance carrier:

Name: ______________________________________________________________________________

Title/Name of Carrier: __________________________________________________________________


____________________________                       ____________________________________________
Date                                               Signature of Lead Trial Counsel

                                                   ____________________________________________
                                                   Print Name of Lead Trial Counsel

*
 If you represent more than one party or require approval from more than one carrier you must submit
attendance information for all clients and carriers.
